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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


   ROBERT SULLIVAN,
                                                     Case No.: 1:16-cv-11719-MLW
                             Plaintiff,

   vs.

   EXPERIAN INFORMATION
   SOLUTIONS, INC.; RUSHMORE
   LOAN MANAGEMENT SERVICES,
   LLC; SELENE FINANCE, LP; and
   DOES 1 to 10, inclusive

                             Defendants.


                                 STIPUALTION FOR DISMISSAL

         Pursuant to Rule 41(a)(1)(ii), Plaintiff Robert Sullivan (“Plaintiff”), by and through

his undersigned counsel and Defendant Experian Information Solutions, Inc.

(“Experian”), by and through its undersigned counsel, hereby stipulate to dismiss

Plaintiff’s claims against Experian with prejudice and with each party to bear its own

costs and attorneys’ fees.




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Dated: December 4, 2017                           Respectfully submitted,

                                                  By: /s/ David A. Chami
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                                                  Robert Sullivan

                                                  /s/Laura Diss Gradel
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                                                  Counsel for Defendant
                                                  Experian Information Solutions, Inc.


                              CERTIFICATE OF SERVICE


       I hereby certify that on December 4, 2017, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notice of such filing to

all attorneys of record in this matter.


/s/ Sandra Padilla


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